Case: 2:18-cv-00400-MHW-CMV Doc #: 1-2 Filed: 04/26/18 Page: 1 of 2 PAGEID #: 34




                        IN THE UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

                                              )
Tanker Pacific Chartering (2) Ltd.,           )
                                              )     Civil Action No. ___________________
       Plaintiff,                             )
                                              )
v.                                            )     District Judge: _____________________
                                              )
Lukoil Pan-Americas LLC                       )     Magistrate Judge: __________________
                                              )
       Defendant,                             )
                                              )     IN ADMIRALTY
and                                           )
                                              )
Chevron USA Inc.                              )     PROCESS OF MARITIME
Citgo Petroleum Corp                          )     ATTACHMENT AND
Trafigura AG                                  )     GARNISHMENT
Trafigura Trading LLC                         )
Exxonmobil Sales and Supply LLC               )
Valero Marketing and Supply Company,          )
                                              )
       Garnishees.                            )
                                              )
                                              )


To Garnishee:         Chevron USA Inc.
                      Serve on Resident Agent:
                      THE PRENTICE-HALL CORPORATION SYSTEM, INC.
                      50 WEST BROAD STREET SUITE 1330
                      COLUMBUS,OH 43215

THE PRESIDENT OF THE UNITED STATES OF AMERICA

UNITED STATES MARSHAL FOR THE SOUTHERN DISTRICT OF OHIO.

GREETING:

       WHEREAS, on April 26, 2018, Plaintiff filed a Verified Complaint against Defendant
Lukoil Pan-Americas LLC for reasons in said complaint mentioned for the sum of at least
$985,806 (herein, the “Garnishment Amount”) and praying for process of marine attachment and
garnishment against the property of said Defendant; and
Case: 2:18-cv-00400-MHW-CMV Doc #: 1-2 Filed: 04/26/18 Page: 2 of 2 PAGEID #: 35




        WHEREAS, this process is issued pursuant to such prayer and requires that Garnishee
shall serve Garnishee’s answer within twenty-one (21) days after service of process upon the
Garnishee and requires that Defendant shall serve its answer within thirty (30) days after process
has been executed, whether by attachment of property or service on the Garnishee,

       NOW, THEREFORE, you are hereby commanded that if the said Defendant cannot be
found within the District you are directed to attach and garnish the property indicated below and
how you shall have executed this process, make known to this Court with your certificate of
execution thereof written:

                                        DESCRIPTION

               All goods, chattels, credits and effects, tangible or intangible
               property of Lukoil Pan-Americas LLC or any other funds held on
               behalf of Lukoil Pan-Americas LLC by Garnishee.

WITNESS THE HONORABLE Judge of said Court, in said District, this ___ day of April, 2018.

                                     Richard W. Nagel, CLERK



                                     BY:     _______________________
                                             Deputy Clerk


NOTE: This process is issued pursuant to Rule B(1) of the Supplemental Rules for Certain
Admiralty and Maritime Claims of the Federal Rules of Civil Procedure.




                                                2
